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Information to identify the case:
Debtor 1
                       Karrieon S. Marshall                                           Social Security number or ITIN   xxx−xx−0362
                                                                                      EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                              Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                   EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Southern District of Georgia

Case number:          22−10162−SDB

Order of Discharge                                                                                                                   12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

                                    Karrieon S. Marshall




                                                                         Susan D. Barrett
                                                                         United States Bankruptcy Judge
                                                                         Federal Justice Center
                                                                         600 James Brown Blvd
                                                                         P.O. Box 1487
                                                                         Augusta, GA 30903
Dated: 6/24/22

Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case, and it does                   This order does not prevent debtors from paying any debt
not determine how much money, if any, the trustee will pay                   voluntarily or from paying reaffirmed debts according to the
creditors.                                                                   reaffirmation agreement. 11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any attempt to                         Most debts are discharged
collect a discharged debt from the debtors personally. For                   Most debts are covered by the discharge, but not all.
example, creditors cannot sue, garnish wages, assert a                       Generally, a discharge removes the debtors' personal
deficiency, or otherwise try to collect from the debtors                     liability for debts owed before the debtors' bankruptcy case
personally on discharged debts. Creditors cannot contact                     was filed.
the debtors by mail, phone, or otherwise in any attempt to
collect the debt personally. Creditors who violate this order                Also, if this case began under a different chapter of the
can be required to pay debtors damages and attorney's                        Bankruptcy Code and was later converted to chapter 7,
fees.                                                                        debts owed before the conversion are discharged.
However, a creditor with a lien may enforce a claim against                  In a case involving community property: Special rules
the debtors' property subject to that lien unless the lien was               protect certain community property owned by the debtor's
avoided or eliminated. For example, a creditor may have                      spouse, even if that spouse did not file a bankruptcy case.
the right to foreclose a home mortgage or repossess an
automobile.
                                                                                           For more information, see page 2 >




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Some debts are not discharged                                    Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:                   agreement are not discharged.

      ♦ debts that are domestic support                          In addition, this discharge does not stop
        obligations;                                             creditors from collecting from anyone else who is
                                                                 also liable on the debt, such as an insurance
                                                                 company or a person who cosigned or
      ♦ debts for most student loans;                            guaranteed a loan.


      ♦ debts for most taxes;
                                                                  This information is only a general summary
      ♦ debts that the bankruptcy court has                       of the bankruptcy discharge; some
        decided or will decide are not discharged                 exceptions exist. Because the law is
        in this bankruptcy case;                                  complicated, you should consult an
                                                                  attorney to determine the exact effect of the
                                                                  discharge in this case.
      ♦ debts for most fines, penalties,
        forfeitures, or criminal restitution
        obligations;


      ♦ some debts which the debtors did not
        properly list;


      ♦ debts for certain types of loans owed to
        pension, profit sharing, stock bonus, or
        retirement plans; and


      ♦ debts for death or personal injury caused
        by operating a vehicle while intoxicated.




Because no party in interest filed a request for an order of dismissal pursuant to 11 U.S.C. § 521(i)(2), the Debtor(s)
was not required to file any further document pursuant to §521(a)(1)(B) to avoid an automatic dismissal and this case
is not and was not subject to automatic dismissal under §521(i)(1). This does not prevent any party in interest from
requesting by motion that Debtor(s) supply further information described in § 521(a)(1)(B), and this does not prevent
the United States Trustee or Chapter 7 Trustee from requesting by any authorized means, including but not limited to
motion, that the Debtor supply further information.




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